                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                               )
                                                       )
v.                                                     )       NO. 3:10-00243
                                                       )       JUDGE CAMPBELL
GERRY CAMPBELL and MARILYN GREENE                      )

                                               ORDER

         Pending before the Court is Defendant Marilyn Greene’s Motion for Brief Continuance of

Plea Hearing (Docket No. 72). The Motion is GRANTED.

         The pretrial conference and/or change of plea hearing scheduled for November 5, 2012, is

RESCHEDULED for November 9, 2012, at 11:00 a.m. for all Defendants.

         Any plea agreement or petition to enter a plea of guilty shall be submitted in advance of the

hearing.

         It is so ORDERED.

                                                       ____________________________________
                                                       TODD J. CAMPBELL
                                                       UNITED STATES DISTRICT JUDGE




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